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                 EXHIBIT C
1/16/2019      Print
            Case     - SHAREHOLDER ALERT: Levi &Document
                  1:18-cv-06601-FB-PK           Korsinsky, LLP Notifies
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     Source: Levi & Korsinsky, LLP

     November 19, 2018 18:53 ET


     SHAREHOLDER ALERT: Levi & Korsinsky, LLP Notifies
     Shareholders of Altice USA, Inc. of a Class Action Lawsuit and a
     Lead Plaintiff Deadline of January 18, 2019
     NEW YORK, Nov. 19, 2018 (GLOBE NEWSWIRE) -- The following statement is being issued by Levi &
     Korsinsky, LLP:

     To: All persons or entities who purchased or otherwise acquired securities of Altice USA, Inc.
     (NYSE: ATUS) pursuant and/or traceable to the Company’s initial public offering in June 2017. You
     are hereby notified that the class action Kupfner v. Altice USA, Inc. (1:18-cv-06601) has been
     commenced in the United States District Court for the Eastern District of New York. To get more
     information go to:

                                     https://www.zlk.com/pslra-1/altice-usa-inc-loss-form

     or contact Joseph E. Levi, Esq. either via email at jlevi@levikorsinsky.com or by telephone at (212) 363-
     7500, toll-free: (877) 363-5972. There is no cost or obligation to you.

     The complaint alleges that the Offering Documents issued pursuant to the IPO failed to disclose and/or
     misstated material information, including that: (1) “The Altice Way” proprietary growth model previously
     developed in Europe and described in the Offering Documents as a means to achieve superior margin
     performance was falsely touting Altice’s capacity to face already existing highly competitive environments
     and ever-changing consumer behaviors, (2) Altice was suffering from aggressively growing competition
     both in Europe and the United States, directly causing negative and decelerating revenue and EBITDA
     growth and impacting Altice’s market share, (3) Specifically, Altice was suffering from mismanaged rate
     events, regulatory compliance and poorly managed network and customer care both in its France and
     Portugal segments, thereby impacting its customer base and churn rate, (4) Altice USA could not simply
     replicate the “The Altice Way” in the U.S. and (5) as a result, Altice USA’s Offering Documents were
     materially misleading at all relevant times.

     If you suffered a loss in Altice USA you have until January 18, 2019 to request that the Court appoint
     you as lead plaintiff. Your ability to share in any recovery doesn’t require that you serve as a lead plaintiff.

     Levi & Korsinsky is a national firm with offices in New York, California, Connecticut, and Washington D.C.
     The firm’s attorneys have extensive expertise and experience representing investors in securities
     litigation, and have recovered hundreds of millions of dollars for aggrieved shareholders. Attorney
     advertising. Prior results do not guarantee similar outcomes.

     CONTACT:
     Levi & Korsinsky, LLP
     Joseph E. Levi, Esq.
     55 Broadway, 10th Floor
https://globenewswire.com/news-release/2018/11/19/1654170/0/en/SHAREHOLDER-ALERT-Levi-Korsinsky-LLP-Notifies-Shareholders-of-Altice-USA-… 1/2
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